                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )     CASE NO. 3:13-00090
                                                    )     JUDGE SHARP
GUTEMBERG ALACARAZ [1]                              )
                                                    )

                                          ORDER

       A hearing on a plea of guilty in this matter is hereby scheduled for Monday, September 9,

2013, at 1:30 p.m.

              It is so ORDERED.


                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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